                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANNA K. NUPSON,                                  )
    Plaintiff,                                   )
                                                 )
       v.                                        )     Case No. 2:18-cv-02505-NIQA
                                                 )
SCHNADER HARRISON SEGAL & LEWIS                  )
LLP, and BRUCE A. ROSENFIELD, ESQ.,              )
       Defendants.                               )

   PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO
 STRIKE PLAINTIFF’S MOTION FOR RULE 37(C)(1) SANCTIONS TO EXCLUDE
 THE REPORT OF DEFENDANTS’ EXPERT WITNESS JOHN FENN AND MOTION
                   FOR AN ORDER TO SHOW CAUSE

       Plaintiff Anna K. Nupson, by and through her counsel of record, hereby submits her

response in opposition to Defendants Schnader Harrison Segal & Lewis LLP (“Schnader”) and

Bruce A. Rosenfield (“Rosenfield”) Motion to Strike Plaintiff’s Motion for Rule 37(C)(1)

Sanctions to Exclude the Report of Defendants’ Expert Witness John Fenn and Motion for an

Order to Show Cause. In support of her Response, Plaintiff states as follows:

                                      INTRODUCTION

       Following Defendants disclosure of expert witness reports, Plaintiff identified several

documents Defendants provided to their expert witnesses while preparing their opinion reports

which were not produced to Plaintiff during discovery in this matter. After exchanging more than

ten (10) emails and conducting a phone call to attempt to resolve the issue, it was clear between

the parties that no resolution without Court intervention could be achieved because the issues

centered on Defendants’ discovery misconduct and prior misrepresentations to Plaintiff and this

Court regarding what documents were in their possession.

       Plaintiff filed her Motion for Rule 37(C)(1) Sanctions to Exclude the Report of Defendants’

Expert Witness John Fenn and Motion for an Order to Show Cause (“Motion for Sanctions”)

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bringing Defendants’ misconduct to the attention of the Court. Defendants filed their instant

Motion to Strike arguing that Plaintiff violated Federal Rule 26(b)(5)(B) and the Protective Order

entered in this matter. Defendants’ Motion to Strike attempts to divert the Court’s attention from

the issues raised in Plaintiff’s Motion for Sanctions. Additionally, by arguing that Plaintiff did not

follow procedural requirements when raising Defendants’ discovery misconduct before this Court,

Defendants request this Court to review their Motion to Strike in a vacuum without considering

the facts and evidence presented in Plaintiff’s Motion for Sanctions.

       Defendants’ Motion to Strike should be denied so this Court may address the issues raised

in Plaintiff’s Motion for Sanctions. Plaintiff did not violate Rule 26(b)(5)(B) because her Motion

for Sanctions does not make the documents in question public. Additionally, Plaintiff did not

violate the Protective Order entered in this matter because Plaintiff’s Motion for Sanctions does

not argue that Defendants’ disclosure is a waiver of privilege. Plaintiff argues that the documents

in question are not privileged and should not have been withheld from Plaintiff. Further, as outlined

in Plaintiff’s Motion for Sanctions, Plaintiff did not violate the meet-and-confer requirements

under the Protective Order. Plaintiff did make several efforts with Defendants to resolve the issues

in good faith.

                                    BACKGROUND FACTS

       On February 10, 2020, Defendants served their Responses and Objections to Plaintiff’s

Third Set of Requests for Admissions and Requests for Production. See Exhibit A. Specifically,

Defendants did not produce any documents responsive to Plaintiff’s request for production number

36. Rather, Defendants objected to the request, stating “Defendants provided all their hardcopy

documents concerning their representation of Middleton Family Businesses and Middleton family




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members (other than Plaintiff) to counsel for John S. Middleton in connection with the Orphans’

Court litigation between Plaintiff and John S. Middleton.” See Exhibit A.

       Based on Defendants’ discovery responses, on July 7, 2020, Plaintiff issued a Subpoena

for the Production of Documents on John Middleton’s counsel, Blank Rome. John Middleton and

his counsel, Blank Rome, objected to Plaintiff’s subpoena and refused to produce any responsive

documents, stating they were protected by the attorney-client privilege and work product doctrine. 1

Additionally, John and Blank Rome stated that Plaintiff’s discovery efforts in this action were in

violation of a 2018 Settlement Agreement between John and Plaintiff which settled their claims

brought in the Orphans’ Court litigation.2

        On January 14, 2022, Defendants produced their expert witness disclosures to Plaintiff.

Among the disclosures was an expert report of John Fenn (“the Fenn Report”). Mr. Fenn’s report

contained opinions regarding the corporate valuations of Bradford Holdings, Inc. (“BHI”) and

purports to “review the damages calculations and conclusions.” Appendix B of the Fenn Report

lists the “sources of information” that Fenn “considered…when preparing this report.” The list

includes documents not produced to Plaintiff in discovery, specifically document 2 (“2001 BHI

Phillies Valuation”) and document 152 (“BHI Projections provided by management”).

       In addition to the expert report of John Fenn, Defendants also produced an expert witness

report of Pam Schneider (“the Schneider Report”). The Schneider Report also lists the materials

she reviewed in preparing her report. The Schneider Report identified additional documents not



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       Plaintiff filed a Motion to Compel documents from Blank Rome and John Middleton, but
this Court denied Plaintiff’s Motion finding the document requests were protected under the
attorney-client privilege and work product doctrine.
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        Recently, John has filed an action in Pennsylvania state court against Anna Nupson, the
Plaintiff in this action, claiming her discovery efforts in this matter allegedly violate the 2018
Settlement Agreement. See Exhibit B, Complaint by John Middleton for Breach of Contract.
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produced to Plaintiff in discovery, specifically document 16 (“Valuation of a Minority Block of

the Non-Voting Common Stock of Bradford Holdings, Inc. as of March 3, 2003, dated June 21,

2004”) and document 27 (“Letter from Larry P. Laubach to Bruce A. Rosenfield dated April 5,

2002, with “Valuation Analysis of the Assets of Bradford Holdings Inc.” enclosed (unlabeled)”).

       On January 18, 2022, Plaintiff’s counsel requested from Defendants copies of specific

documents listed on Mr. Fenn’s report that Plaintiff could not identify in the various document

productions in this case. See Exhibit C. On January 20, 2022, Defendants’ counsel provided

copies of the requested documents. See Exhibit D. Upon reviewing the documents, Plaintiff’s

counsel could not locate several documents produced in response to Plaintiff’s discovery requests,

or by third-party John Middleton in response to Plaintiff’s subpoena to his counsel, Blank Rome.

On January 26, 2022, Plaintiff’s counsel requested the Bates Numbers for documents 2 and 152 of

the Fenn Report and requested additional documents identified in the Schneider Report. See

Exhibit E. Defendants’ counsel responded on the same day, providing copies of the requested

documents with new Bates Numbers. See Exhibit F. On January 27, 2022, Plaintiff’s counsel

again requested the Bates Numbers assigned during discovery production for the identified

documents (see Exhibit G), but the following day, January 28, 2022, Plaintiff’s request was met

with Defendants’ claim that the documents were inadvertently produced. See Exhibit H.

Defendants demanded that Plaintiff return or destroy the documents immediately but failed to

account that their expert witnesses relied on the same documents and information in forming their

opinions and reports.

       Consistent with Rule 26 and Defendants’ request to “claw back” the documents Defendants

produced outside of the discovery period, Plaintiff has sequestered the documents and has retrieved

the documents from her experts, thus effectively preventing Plaintiff from analyzing documents



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Defendants have analyzed in support of their defenses until the Court rules on the issue. See

Exhibit I.

       On February 7, 2022, counsel for Plaintiff and Defendants held a phone conference to

address the issues in good faith. However, during the call it was revealed that Defendants maintain

a document cache containing the documents in question, and likely others, which allows

Defendants and their attorneys access to review and utilize in this matter. See Exhibit J. Clearly,

Defendants and their counsel are accessing and reviewing relevant documents that they have not

produced to Plaintiff, but more concerning is that they are providing the same documents to their

expert witnesses in support of their defenses in this matter and not providing Plaintiff with the

same highly relevant and discoverable information. Upon learning during the call that Defendants

had access to additional documents undisclosed to Plaintiff, Plaintiff’s counsel communicated that

they were unsure how the parties could reach resolution on the issue and that Plaintiff would be

filing a Motion with the Court.

       On February 8, 2022, Defendants’ counsel emailed Plaintiff’s counsel copies of filings and

discovery responses with highlighting to “provide some clarity as to Defendants’ prior

representations to the Court as to certain documents.” See Exhibit K. On February 12, 2022,

Plaintiff’s counsel notified Defendants’ counsel that the filings and discovery responses attached

to Defendants’ email did not contain any highlighting. See Exhibit L. Plaintiff’s email further

identified many of Defendants’ representations contained therein that were inconsistent with their

current possession of discovery materials relevant in this matter. The email specifically states, “We

will be filing a Motion with the Court on this issue.” Exhibit L. This was the second time

Defendants’ counsel was notified that Plaintiff would be raising these issues with the Court.




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       On February 14, 2022, Plaintiff filed her Motion for Sanctions requesting the Court

sanction Defendants by striking their expert witness report of John Fenn and excluding his

testimony at any hearing, deposition, and/or trial in this matter. Additionally, Plaintiff requested

this Court issue an order to show cause as to why Defendants failed to supplement their discovery

responses to produce the documents responsive to her discovery requests.

       On February 18, 2022, Defendants filed their Motion to Strike arguing Plaintiff violated

procedural requirements and acted in bad faith by failing to “meet and confer” as required by the

Protective Order entered in this case. The allegations in Defendants’ Motion to Strike should be

disregarded as they lack legal and factual support, and merely attempt to divert this Court’s

attention from the serious issues raised in Plaintiff’s Motion for Sanctions.

                              ARGUMENT AND AUTHORITIES

A.     Plaintiff’s Motion for Rule 37(C)(1) Sanctions to Exclude the Report of Defendants’
       Expert Witness John Fenn and Motion for an Order to Show Cause does not violate
       Rule 26(b)(5)(B).

       Federal Rule 26(b)(5)(B) states:

           (B) Information Produced. If information produced in discovery is subject to a
               claim of privilege or of protection as trial-preparation material, the party
               making the claim may notify any party that received the information of the
               claim and the basis for it. After being notified, a party must promptly return,
               sequester, or destroy the specified information and any copies it has; must
               not use or disclose the information until the claim is resolved; must take
               reasonable steps to retrieve the information if the party disclosed it before
               being notified; and may promptly present the information to the court under
               seal for a determination of the claim. The producing party must preserve the
               information until the claim is resolved.

       Upon notification from Defendants that the documents in question were “inadvertently

produced” and subject to a claim of privilege, Plaintiff promptly complied with the requirements

of Rule 26(b)(5)(B). See Exhibit I. Plaintiff notified Defendants that “In compliance with Rule

26, we will agree to sequester the documents at issue and retrieve them to the extent we provided

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them to our experts before being notified [of their inadvertent disclosure]”. Exhibit I.

Additionally, Plaintiff’s counsel notified her expert witnesses of Defendants’ claims that the

documents in question were inadvertently produced and requested that the expert witnesses in turn

sequester the documents pending resolution. Exhibit I.

       After Plaintiff was notified by Defendants that the documents were subject to privilege,

Plaintiff did not “use or disclose the information.” Also consistent with Rule 26(b)(5)(B), Plaintiff

“promptly present[ed] the information to the court under seal for a determination of the claim.”

See Doc. 252 (Plaintiff’s Motion to Seal Exhibit M, N, and O of her Motion for Rule 37(c)(1)

Sanctions); see also Doc. 260 (Exhibit M, N, and O filed under Seal).

       Defendants’ Motion to Strike argues that Plaintiff violated Rule 26(b)(5)(B) because

Plaintiff “attaches and makes public the inadvertently disclosed documents that are the subject to

a claim of privilege before presenting the documents to the Court for determination of the privilege

claim.” See Doc. 259, at 2. Defendants’ Motion to Strike is plainly wrong. As demonstrated by

this Court’s Order to Seal Exhibits M, N, and O of Plaintiff’s Motion for Sanctions [Doc. 257],

Plaintiff presented the documents in question under seal for this Court’s determination of

Defendants’ claims of privilege.

       Furthermore, Plaintiff’s Motion for Sanctions brings to the attention of this Court that “the

documents in question are not protected by the attorney-client privilege.” See Doc. 254, at 17.

Thus, Plaintiff’s Motion for Sanctions complies with Rule 26(b)(5)(B) as Plaintiff moved to

sequester the documents in question, did not use or disclose the information any further, took

reasonable steps to retrieve the information from her expert witnesses, and promptly presented the

information to this Court under seal for a determination of Defendants claim.




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B.      Plaintiff’s Motion for Rule 37(C)(1) Sanctions to Exclude the Report of Defendants’
        Expert Witness John Fenn and Motion for an Order to Show Cause did not violate
        the Protective Order.

     Defendants’ Motion to Strike also argues that Plaintiff violated numerous terms of the

Protective Order entered by the Parties in this matter. Defendants contend that Plaintiff’s Motion

for Sanctions “directly argues that the inadvertent production is a ground for alleging the later

designation of the documents as privileged or immune from discovery.” Doc. 259, at 5. Defendants

further argue that Plaintiff violated the “Meet and Confer” provisions of the Protective Order. Id.

Defendants’ Motion to Strike should be denied because Plaintiff did not violate the Protective

Order; plaintiff does not argue for a waiver of privilege in her Motion for Sanctions, but rather that

no privilege should be given to the documents. Also, Plaintiff did comply with the Meet and Confer

requirements contained in the Protective Order.

        1. Plaintiff’s Motion did not violate the Protective Order.

        Section 3(b) of the Protective Order states that

        The Receiving Party may challenge whether the Material is protected from
        discovery at any time. If the Receiving Party challenges the propriety of the claim
        of attorney-client privilege, work-product immunity, or other applicable privilege
        or immunity, the Receiving Party shall not assert the fact of the inadvertent
        production or the reasonableness of the Producing Party’s pre-production review as
        a ground for challenging the later designation.

Doc. 82, at 6.

     Plaintiff filed her Motion for Sanctions in compliance with the Protective Order to challenge

whether the documents in question are protected by privilege. See Doc. 254, at 17 (“the documents

in question are not protected by the attorney-client privilege.”). In requesting this Court make a

privilege determination on the documents, Plaintiff makes no argument that Defendants’

inadvertent production as the grounds for a waiver of a privilege designation.




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       Rather, Plaintiff’s Motion for Sanctions argues that the documents in question were not

actually “inadvertently produced” as Defendant’s claim. Plaintiff’s Motion for Sanctions analyzes

whether Defendants’ production of the documents in question constitutes an inadvertent

disclosure. Plaintiff argues in her Motion for Sanctions that Defendants’ production of the

documents was not inadvertent because Defendants intentionally produced the documents to their

expert witnesses to review and rely upon in preparation of their opinion reports. Further,

Defendants willingly and knowingly produced the documents to Plaintiff upon her request for the

specific documents after learning that the documents were cited in Defendants’ expert witness

reports.

       Therefore, Plaintiff’s Motion does not violate the Protective Order because Plaintiff does

not argue that Defendants’ disclosure is a waiver of privilege, but rather that the documents in

question were never privileged and were not inadvertently produced.

       2. The Parties engaged in many meaningful attempts to resolve the issue before coming
          to this Court.

       Section 5(b) of the Protective Order states:

       A Party that elects to challenge a designation must do so in good faith and, in
       addition to the written notice, must confer directly (in voice-to-voice dialogue;
       other forms of communication are not sufficient) with counsel for the Designating
       Party. A challenging Party may file a motion challenging the designation only if it
       has engaged in this meet-and-confer dialogue first. Each such motion must be
       accompanied by a competent declaration that affirms that the movant has complied
       with these meet-and-confer requirements.

       Defendants argue that Plaintiff’s counsel did not comply with the meet and confer

requirements under the protective order because Plaintiff’s counsel did not conduct a phone call

on the day, she filed her Motion. Defendants fail to inform the Court that the parties exchanged

more than ten (10) email communications on these matters and that the parties did conduct a

telephonic meet and confer one week prior to Plaintiff filing her Motion for Sanctions.

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       Plaintiff’s Motion for Sanctions indisputably complies with the meet and confer

requirements under the Protective Order. As stated in the “Factual Background” of Plaintiff’s

Motion, on February 7, 2022, counsel for Plaintiff and Defendants held a phone conference to

address the documents in question and Defendants’ claims of privilege. As allowed under the

Protective Order, Plaintiff filed her Motion for Sanctions on February 14, 2022, after conducting

a meaningful meet and confer phone call. Plaintiff’s Motion outlines all of the steps taken by

Plaintiff to work in good faith with Defendants’ counsel on these issues.

                                         CONCLUSION

       WHEREFORE Plaintiff requests this court enter an order denying Defendants’ Motion to

Strike. Plaintiff did not violate Rule 26(b)(5)(B) because her Motion for Sanctions does not make

the documents in question public. Additionally, Plaintiff did not violate the Protective Order

entered in this matter because Plaintiff’s Motion for Sanctions does not argue that Defendants’

disclosure is a waiver of privilege, but rather that the documents in question are not privileged and

should have not been withheld from Plaintiff. Further, Plaintiff did not violate the meet-and-confer

requirements under the Protective Order.

                                              Respectfully Submitted,

                                              /s/ Ben Davis
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and complete copy of the foregoing was served on all counsel

of record electronically on this 4th day of March 2022.

/s/ Ben Davis
Ben Davis




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